Lawsuit accuses PruCare of poor care                                       Page 1 of 2
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    HOME           LIFE INSURANCE        AUTO INSURANCE            HEALTH INSURANCE              HOME INSURANCE                  BUSINESS INSURANCE      DENTAL INSURANCE

 LIFE SETTLEMENT        DISABILITY       LONG-TERM CARE INSURANCE                   IDENTITY THEFT              SITE MAP



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                   Travel                     Lawsuit accuses PruCare of poor                                                     Long-Term Care
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                                          Another lawsuit filed against a major health insurer, this time Prudential
                                          HealthCare, contends that HMO officials denied coverage for patients'
                                          treatment even though they were not qualified to do so and that they based their        Dental Insurance
                                          decisions on criteria that didn't meet medical standards.

                                          The lawsuit accuses PruCare of such             Potential class members                 One-Employee
                     Choose one           practices as limiting new mothers to a
                                          24-hour hospital stay, discharging
                                          stroke patients in two days,                  Potential members of the national
                                                                                         class action lawsuit filed against
                                          recommending that mastectomies be
                                          performed on an outpatient basis, and          Prudential HealthCare include all        Life Insurance For
                                          limiting treatment of Lyme disease to        customers of PruCare in the United         Children
                                          28 days, even for chronic cases.            States who were or are participants or
                                          "Each of these guidelines . . . are           beneficiaries in employee welfare
                                          inconsistent with the prevailing              benefit plans through which health
                                          recommendations in the medical             insurance coverage was or is provided
                                          community," the lawsuit charges.              by HMO or point-of-service plans
                                                                                     administered by PruCare. PruCare has
                                                                                            about 6.6 million customers
                                          The lawsuit, which is seeking federal                     nationwide.                   Travel Insurance
                                          class action status, was filed April 11
                                          in U.S. District Court in New Jersey by
                                          the law firms Pomerantz Haudek Block
                                          Grossman & Gross and Milberg Weiss
                                          Bershad Hynes & and Lerach.

                                          PruCare was purchased by Aetna U.S. Healthcare for $1 billion in August 1999,
                                                                                                                                  Workers Compensation
                                          making Aetna the nation's leading provider of health insurance benefits, with
                                          more than 21 million customers.
                                                                                                                                  Business Property
                                          The plaintiffs' attorneys say that PruCare breached the terms of its health care
                                          plans by using procedures for determining the medical necessity of patient care
                                          that are inconsistent or conflict with the prevailing opinion in the medical
                                          community, leading to improper denial of treatment.                                     Comm'l General Liability

                                          The lawsuit also contends that the HMO's decision-makers, which allegedly
                                          include untrained claims administrators and unqualified doctors, do not take into
                                          account the individual patient's circumstances when determining whether the
                                                                                                                                  Business Auto
                                          person needs medical care. Rather, it says, PruCare adheres to substandard
                                          actuarial guidelines in an effort to reduce medical expenses. The lawsuit cites
                                          PruCare's guidelines for a 24-hour hospital maternity stay after giving birth,          Employment Services
                                          instead of 48 hours. It also contends that while the American Medical
                                          Association recommends a week-long hospital stay for certain stroke patients,
                                          PruCare covered only a two-day stay.
                                                                                                                                  Bonds
                                                                         Keep it a secret

                                          In addition, the lawsuit says that the doctors who contract with PruCare risk
                                          being terminated if they discuss treatment options with their patients that aren't
                                          covered by the HMO. "Without such information," the lawsuit says, "a patient's
                                          right to informed consent concerning the medical care offered by PruCare has
                                          been violated."

                                          The lawsuit seeks to force PruCare to comply with the contractual obligations
                                          spelled out in its health plans.

                                          Aetna officials have little to say about the lawsuit but insist it has no merit. "We
                                          are currently reviewing the suit," says company spokesperson David Carter.
                                          "However, it appears to be another attempt by the plaintiffs' bar to utilize the
                                          courts to make fundamental changes in the way that managed care plans are




http://www.insure.com/articles/lawsuitlibrary/Prudential-Healthcare.html                                                                                      11/2/2009
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                                         governed."


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